            Case 1:19-cr-00128-BAH Document 1 Filed 04/15/19 Page 1 of 6



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :   CRIMINAL NO. ________
                                                :
                v.                              :
                                                :   VIOLATION: 18 U.S.C. § 371
 UNICREDIT BANK AG,                             :   (Conspiracy to Defraud the United States
                                                :   and to Violate IEEPA)
                       Defendant.               :
                                                :   FORFEITURE: 18 U.S.C. § 981(a)(1)(C);
                                                    21 U.S.C. § 853(p); and 28 U.S.C. § 2461(c)


                                         INFORMATION

       The United States charges that:

                                          COUNT ONE

    CONSPIRACY TO DEFRAUD THE UNITED STATES AND TO VIOLATE THE
         INTERNATIONAL EMERGENCY ECONOMIC POWERS ACT
                           (18 U.S.C. § 371)

       1.      From in or around January 2002, through in or around December 2011, in the

District of Columbia and elsewhere, defendant

                                    UNICREDIT BANK AG

and others, both known and unknown to the United States, unlawfully, willfully and knowingly

combined, conspired, confederated and agreed with one another to commit offenses against the

United States, that is, to defraud the United States and to engage in financial transactions with

Sanctioned Entities including Specially Designated Nationals (SDNs) in violation of the

International Emergency Economic Powers Act (IEEPA), Title 50, United States Code, Sections

1702 and 1705, and the executive orders, regulations, and embargoes issued thereunder.

       2.      The goal of the conspiracy was for UNICREDIT BANK AG and others, both

known and unknown to the United States, to profit financially by engaging in a conspiracy and a
            Case 1:19-cr-00128-BAH Document 1 Filed 04/15/19 Page 2 of 6



scheme to defraud the United States and to violate IEEPA, and the executive orders, regulations,

and embargoes issued thereunder.

       3.      A further goal of the conspiracy was for UNICREDIT BANK AG and others both

known and unknown to the United States, to violate executive orders and regulations prohibiting

the exportation, directly and indirectly, of financial services from the United States to Sanctioned

Entities, which are geographies, entities, and individuals sanctioned by the United States

Department of the Treasury’s Office of Foreign Assets Control (OFAC), which is located in the

District of Columbia, or entities and individuals designated as SDNs by OFAC.

       4.      A further goal of the conspiracy was for UNICREDIT BANK AG to process

payments on behalf of Sanctioned Entities while omitting information to the payments’ origins to

prevent those transactions from being flagged or denied.

       5.      A further goal of the conspiracy was that UNICREDIT BANK AG eliminated or

withheld payment information that would have revealed the involvement of Sanctioned Entities

and used alternative payment methods to mask the involvement of Sanctioned Entities.

                                    MANNER AND MEANS

       6.      Among the manner and means by which UNICREDIT BANK AG, the defendant,

and its co-conspirators carried out the conspiracy were the following:

               a.      UNICREDIT BANK AG intentionally used a non-transparent method of

payment messages, known as cover payments, to conceal the involvement of Sanctioned Entities,

including banks and other entities located in or controlled by countries subject to U.S. sanctions,

including Iran, in U.S. dollar transactions processed through U.S. financial institutions located in

New York, New York.




                                                 2
             Case 1:19-cr-00128-BAH Document 1 Filed 04/15/19 Page 3 of 6



                b.        UNICREDIT BANK AG created a policy manual that instructed employees

to process transactions with Sanctioned Entities in an “OFAC-neutral” manner so that “no US bank

can see OFAC contents” in any payment message processed through U.S. financial institutions.

                c.        UNICREDIT BANK AG followed instructions from Sanctioned Entities

not to mention the names of Sanctioned Entities in U.S. dollar payment messages sent to U.S.

financial institutions.

                d.        UNICREDIT BANK AG removed information identifying Sanctioned

Entities from U.S. dollar payment messages to conceal the involvement of Sanctioned Entities

from U.S. financial institutions.

                e.        UNICREDIT BANK AG opened U.S. dollar accounts for the Islamic

Republic of Iran Shipping Lines (IRISL) and its related entities, known as “safe accounts.”

UNICREDIT BANK AG and IRISL used these safe accounts to automatically transfer funds from

bank accounts for IRISL-related entities to an IRISL target account. On or about September 10,

2008, OFAC sanctioned IRISL and its related companies and vessels for its involvement in

weapons of mass destruction proliferation activity. After that time, UNICREDIT BANK AG used

its accounts to send IRISL-related payments through the United States in a manner that concealed

information from U.S. financial institutions showing that IRISL and its related companies were

the true originator or beneficiary of the payment.

                                          OVERT ACTS

        7.      In furtherance of the conspiracy and to achieve the objects and purposes thereof,

UNICREDIT BANK AG and its co-conspirators, both known and unknown to the United States,

committed and caused to be committed, in the District of Columbia and elsewhere, the following

overt acts, among others:




                                                 3
            Case 1:19-cr-00128-BAH Document 1 Filed 04/15/19 Page 4 of 6



               a.      On or about October 2, 2008, UNICREDIT BANK AG caused an

unaffiliated U.S. financial institution located in New York, New York (U.S. Bank 1) to process

an approximately $3,609,492 million U.S. dollar transaction involving a Sanctioned Entity in Iran

by concealing from U.S. Bank 1 the involvement of the Sanctioned Entity. UNICREDIT BANK

AG failed to seek or obtain a license or other permission from OFAC for this transaction.

               b.      On or about October 6, 2008 UCB AG caused U.S. Bank 1 to process an

approximately $1,761,943 U.S. dollar transaction on behalf of a Sanctioned Entity in Iran by

concealing from U.S. Bank 1 the involvement of the Sanctioned Entity. UNICREDIT BANK AG

failed to seek or obtain a license or other permission from OFAC for this transaction.

               c.      On or about July 16, 2010, UCB AG caused U.S. Bank 1 to process an

approximately $205,961 U.S. dollar transaction involving a Sanctioned Entity in Iran by

concealing from U.S. Bank 1 the involvement of the Sanctioned Entity. UNICREDIT BANK AG

failed to seek or obtain a license or other permission from OFAC for this transaction

                           (Title 18, United States Code, Section 371)



                                 FORFEITURE ALLEGATION

       8.      Upon conviction for the offense alleged in Count One, UNICREDIT BANK AG

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C)

and Title 28, United States Code, Section 2461(c), all property, real and personal, that constitutes

or is derived from proceeds traceable to the offense. The United States will also seek a forfeiture

money judgment for a sum of money equal to the value of any property, real or personal, which

constitutes, or is derived from proceeds traceable to this offense.




                                                  4
            Case 1:19-cr-00128-BAH Document 1 Filed 04/15/19 Page 5 of 6



       9.      If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

               a.     cannot be located upon the exercise of due diligence;

               b.     has been transferred or sold to, or deposited with, a third party;

               c.     has been placed beyond the jurisdiction of the Court;

               d.     has been substantially diminished in value; or

               e.     has been commingled with other property that cannot be divided without

                      difficulty;




                                                5
Case 1:19-cr-00128-BAH Document 1 Filed 04/15/19 Page 6 of 6
